               Case 2:22-cv-00344-BJR Document 93 Filed 06/06/22 Page 1 of 3

                                                                   The Honorable Barbara J. Rothstein


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 6
                              UNITED STATES DISTRICT COURT
 7                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8      THROUGHPUTER, INC.,
                        Plaintiff,
 9                                                          Civ. No. 2:22-cv-00344-BJR
                                v.                          Civ. No. 2:22-cv-00492-BJR
10
        MICROSOFT CORPORATION,                              JOINT PROPOSED CASE SCHEDULE
11                      Defendant.

12

13          Pursuant to the Court’s Order dated June 1, 2022, the parties respectfully submit the
14   attached agreed upon schedule for entry in this proceeding.
15          DATED this 6th day of June, 2022.
16                                                       LOWE GRAHAM JONES
                                                                               PLLC



17                                                       /s/ Lawrence D. Graham
                                                         Lawrence D. Graham, WSBA No. 25402
18                                                       Graham@LoweGrahamJones.com
                                                         1325 Fourth Avenue, Suite 1130
19                                                       Seattle, Washington 98101
                                                         T: 206.381.3300
20                                                       F: 206.381.3301
21                                                       GARDELLA GRACE P.A.
22                                                       W. Cook Alciati (admitted pro hac vice)
                                                         80 M Street SE, 1st Floor
23                                                       Washington D.C. 20003
                                                         T: 703-721-8379
24
     JOINT PROPOSED CASE SCHEDULE - 1
     Civil Action No. 22-CV-00344-BJR
               Case 2:22-cv-00344-BJR Document 93 Filed 06/06/22 Page 2 of 3




 1                                              calciati@gardellagrace.com

 2                                              Michael Dorfman (admitted pro hac vice)
                                                2502 North Clark Street, Suite 222
 3                                              Chicago, Illinois 60614
                                                T: 703-415-9344
 4                                              mdorfman@gardellagrace.com

 5                                              Attorneys for Plaintiff ThroughPuter, Inc.

 6                                              FISH & RICHARDSON P.C.

 7                                              /s/ Betty Chen
                                                Ahmed J. Davis (admitted pro hac vice)
 8                                              adavis@fr.com
                                                FISH & RICHARDSON P.C.
 9                                              1000 Maine Avenue, SW
                                                Suite 1000
10                                              Washington, DC 20024
                                                Telephone: (202) 783-5070
11
                                                John S. Goetz (admitted pro hac vice)
12                                              goetz@fr.com
                                                Excylyn J. Hardin-Smith (admitted pro hac
13                                              vice)
                                                Hardin-Smith@fr.com
14                                              FISH & RICHARDSON P.C.
                                                7 Times Square, 20th Floor
15                                              New York, NY 10036
                                                Telephone: (212) 765-5070
16
                                                Matthew A. Colvin (admitted pro hac vice)
17                                              colvin@fr.com
                                                FISH & RICHARDSON P.C.
18                                              1717 Main Street, Suite 5000
                                                Dallas, TX 75201
19                                              Telephone: (214) 747-5070

20                                              Betty Chen (WA Bar No. 57993;
                                                CA Bar No. 290588)
21                                              bchen@fr.com
                                                FISH & RICHARDSON P.C.
22                                              1400 112th Ave. SE, Suite 100
                                                Bellevue, WA 98004
23                                              Telephone: (650) 839-5070

24
     JOINT PROPOSED CASE SCHEDULE - 2
     Civil Action No. 22-cv-00344-BJR
               Case 2:22-cv-00344-BJR Document 93 Filed 06/06/22 Page 3 of 3




 1                                              Counsel for Defendant Microsoft
                                                Corporation
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     JOINT PROPOSED CASE SCHEDULE - 3
     Civil Action No. 22-cv-00344-BJR
